                                                                                FORM 1
                                                                                                                                                              Page No:    1
                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                             ASSET CASES

Case No.:                        19-43808                                                                         Trustee Name:                            Karen E. Evangelista
Case Name:                       SIKLAWI CO.                                                                      Date Filed (f) or Converted (c):         03/15/2019 (f)
For the Period Ending:           12/31/2020                                                                       §341(a) Meeting Date:                    04/24/2019
                                                                                                                  Claims Bar Date:                         09/10/2019
                             1                                     2                      3                                  4                         5                      6
                     Asset Description                       Petition/               Estimated Net Value               Property                 Sales/Funds             Asset Fully
                      (Scheduled and                       Unscheduled              (Value Determined by               Abandoned               Received by the         Administered
                 Unscheduled (u) Property)                    Value                        Trustee,              OA =§ 554(a) abandon.             Estate                  (FA)/
                                                                                   Less Liens, Exemptions,                                                             Gross Value of
                                                                                      and Other Costs)                                                                Remaining Assets

Ref. #
1          2 sectional rugs Unknown                                    Unknown                          $0.00                                                $0.00                  FA
2          Maytag washing machine (not                                    $0.00                         $0.00                                                $0.00                  FA
           operational) Unknown
3          2 Shop Vacs Unknown                                          $100.00                         $0.00                                                $0.00                  FA
4          Shampoo Vacuum Unknown                                      Unknown                          $0.00                                                $0.00                  FA
5          Glass table and 2 carts Unknown                             Unknown                          $0.00                                                $0.00                  FA
6          c. 8 brushes Unknown                                        Unknown                          $0.00                                                $0.00                  FA
7          Washing supplies - approximately                            Unknown                          $0.00                                                $0.00                  FA
           240 towels and laundry detergent
           - original cost of towels was $2
           each
8          Leasehold improvements - Debtor                                $0.00                         $0.00                                                $0.00                  FA
           believes any leashold
           improvements made by the
           Debtor are the property of the
           Landlord
9          c. 150 air freshteners - originally                            $0.00                         $0.00                                                $0.00                  FA
           purchased for 55 cents each
10         Chapter 5 Cause of Action                 (u)                  $0.00                   $20,000.00                                          $17,000.00              $3,000.00
Asset Notes:         Order Approving Compromise entered on 11/26/19, docket #34.
                     Motion to Approve Compromise filed on 10/31/19, docket #32.


TOTALS (Excluding unknown value)                                                                                                                   Gross Value of Remaining Assets
                                                                       $100.00                    $20,000.00                                        $17,000.00                $3,000.00



 Major Activities affecting case closing:
    12/22/2020     Trustee with assistance of counsel is investigating the value of the business. The Trustee with assistance of counsel has successfully reached a
                   Compromise. The payments are current and claims have been reviewed. Once paid in full, the Trustee will move to TFR


    Initial Projected Date Of Final Report (TFR):             03/15/2021                                  /s/ KAREN E. EVANGELISTA
    Current Projected Date Of Final Report (TFR):                                                         KAREN E. EVANGELISTA




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                                                                            FORM 2
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       19-43808                                                             Trustee Name:                       Karen E. Evangelista
Case Name:                     SIKLAWI CO.                                                          Bank Name:                          Pinnacle Bank
Primary Taxpayer ID #:         **-***7949                                                           Checking Acct #:                    ******0146
Co-Debtor Taxpayer ID #:                                                                            Account Title:
For Period Beginning:          01/01/2020                                                           Blanket bond (per case limit):      $2,000,000.00
For Period Ending:             12/31/2020                                                           Separate bond (if applicable):


     1                 2                   3                                4                                          5                 6                   7

Transaction      Check /              Paid to/          Description of Transaction                  Uniform          Deposit        Disbursement         Balance
   Date           Ref. #           Received From                                                   Tran Code           $                 $


10/28/2019           (10)     Mark Siklaw               Order Authorizing Trustee to               1241-000          $2,000.00                $0.00              $2,000.00
                                                        Compromise Claim P/O 11/26/2019,
                                                        docket #34.
11/14/2019           (10)     Maher Siklawi             Order Authorizing Trustee to               1241-000          $1,000.00                $0.00              $3,000.00
                                                        Compromise Claim P/O 11/26/2019,
                                                        docket #34.
12/10/2019           (10)     SIKLAWI                   Order Authorizing Trustee to               1241-000          $1,000.00                $0.00              $4,000.00
                                                        Compromise Claim P/O 11/26/2019,
                                                        docket #34.
01/17/2020           (10)     Maher Siklawi             Order Authorizing Trustee to               1241-000          $1,000.00                $0.00              $5,000.00
                                                        Compromise Claim P/O 11/26/2019,
                                                        docket #34.
02/06/2020           (10)     Maher Siklawi             Order Authorizing Trustee to               1241-000          $1,000.00                $0.00              $6,000.00
                                                        Compromise Claim P/O 11/26/2019,
                                                        docket #34.
03/12/2020           (10)     Siklawi CO                Order Authorizing Trustee to               1241-000          $1,000.00                $0.00              $7,000.00
                                                        Compromise Claim P/O 11/26/2019,
                                                        docket #34.
04/20/2020           (10)     MAHER SIKLAWI             Order Authorizing Trustee to               1241-000          $1,000.00                $0.00              $8,000.00
                                                        Compromise Claim P/O 11/26/2019,
                                                        docket #34.
05/11/2020           (10)     Maher Siklawi             Order Authorizing Trustee to               1241-000          $1,000.00                $0.00              $9,000.00
                                                        Compromise Claim P/O 11/26/2019,
                                                        docket #34.
05/12/2020        3001        Stevenson & Bullock       Order Granting First Interim               3210-000                $0.00        $3,935.00                $5,065.00
                                                        Application of Attorney for Trustee,
                                                        for Fees Rendered From March 17,
                                                        2019 Through May 31, 2019 P/O
                                                        5/15/2020, docket #40.
05/12/2020        3002        Stevenson & Bullock       Order Granting First Interim               3220-000                $0.00             $20.00              $5,045.00
                                                        Application of Attorney for Trustee,
                                                        for Expenses Rendered From March
                                                        17, 2019 Through May 31, 2019
                                                        P/O 5/15/2020, docket #40.
06/09/2020           (10)     M. Siklawi                Order Authorizing Trustee to               1241-000          $1,000.00                $0.00              $6,045.00
                                                        Compromise Claim P/O 11/26/2019,
                                                        docket #34.
07/13/2020           (10)     Maher Siklawi             Order Authorizing Trustee to               1241-000          $1,000.00                $0.00              $7,045.00
                                                        Compromise Claim P/O 11/26/2019,
                                                        docket #34.
07/31/2020                    Pinnacle Bank             Service Charge                             2600-000                $0.00          $116.92                $6,928.08
08/03/2020                    Pinnacle Bank             Service Charge                             2600-000                $0.00         ($116.92)               $7,045.00
08/03/2020                    Pinnacle Bank             Service Charge                             2600-000                $0.00              $9.51              $7,035.49
08/13/2020           (10)     Maher Siklawi             Order Authorizing Trustee to               1241-000          $1,000.00                $0.00              $8,035.49
                                                        Compromise Claim P/O 11/26/2019,
                                                        docket #34.
08/31/2020                    Pinnacle Bank             Service Charge                             2600-000                $0.00             $11.43              $8,024.06

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                                                                                               SUBTOTALS         $12,000.00                  $3,975.94
                                                                                                                                                              Page No: 2
                                                                                  FORM 2
                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       19-43808                                                                        Trustee Name:                           Karen E. Evangelista
Case Name:                     SIKLAWI CO.                                                                     Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:         **-***7949                                                                      Checking Acct #:                        ******0146
Co-Debtor Taxpayer ID #:                                                                                       Account Title:
For Period Beginning:          01/01/2020                                                                      Blanket bond (per case limit):          $2,000,000.00
For Period Ending:             12/31/2020                                                                      Separate bond (if applicable):


     1                 2                 3                                        4                                                5                   6                   7

Transaction        Check /             Paid to/               Description of Transaction                   Uniform              Deposit           Disbursement         Balance
   Date             Ref. #          Received From                                                         Tran Code               $                    $


09/10/2020           (10)     Maher Siklawi                   Order Authorizing Trustee to                1241-000               $1,000.00                  $0.00              $9,024.06
                                                              Compromise Claim P/O 11/26/2019,
                                                              docket #34.
09/30/2020                    Pinnacle Bank                   Service Charge                              2600-000                     $0.00               $12.54              $9,011.52
10/15/2020           (10)     Maher Siklawi                   Order Authorizing Trustee to                1241-000               $1,000.00                  $0.00          $10,011.52
                                                              Compromise Claim P/O 11/26/2019,
                                                              docket #34.
10/29/2020           (10)     Maher Siklawi                   Order Authorizing Trustee to                1241-000               $1,000.00                  $0.00          $11,011.52
                                                              Compromise Claim P/O 11/26/2019,
                                                              docket #34.
10/30/2020                    Pinnacle Bank                   Service Charge                              2600-000                     $0.00               $14.41          $10,997.11
11/10/2020           (10)     Maher Siklawi                   Order Authorizing Trustee to                1241-000               $1,000.00                  $0.00          $11,997.11
                                                              Compromise Claim P/O 11/26/2019,
                                                              docket #34.
11/25/2020          3003      Insurance Partners Agency       Bond Payment                                2300-000                     $0.00                $7.63          $11,989.48
11/30/2020                    Pinnacle Bank                   Service Charge                              2600-000                     $0.00               $16.85          $11,972.63
12/15/2020           (10)     Maher Siklawi                   Did not link to receipt log, did            1241-000               $1,000.00                  $0.00          $12,972.63
                                                              deposit reversal and re-deposited
12/15/2020           (10)     DEP REVERSE: Maher              Did not link to receipt log, did            1241-000              ($1,000.00)                 $0.00          $11,972.63
                              Siklawi                         deposit reversal and re-deposited
12/15/2020           (10)     Maher Siklawi                   Order Authorizing Trustee to                1241-000               $1,000.00                  $0.00          $12,972.63
                                                              Compromise Claim P/O 11/26/2019,
                                                              docket #34.
12/31/2020                    Pinnacle Bank                   Service Charge                              2600-000                     $0.00               $18.56          $12,954.07

                                                 TOTALS:                                                                        $17,000.00            $4,045.93                $12,954.07
                                                     Less: Bank transfers/CDs                                                        $0.00                $0.00
                                                 Subtotal                                                                       $17,000.00            $4,045.93
                                                     Less: Payments to debtors                                                       $0.00                $0.00
                                                 Net                                                                            $17,000.00            $4,045.93




For the period of 01/01/2020 to 12/31/2020                                 For the entire history of the account between 10/28/2019 to 12/31/2020

Total Compensable Receipts:                               $13,000.00       Total Compensable Receipts:                                    $17,000.00
Total Non-Compensable Receipts:                                $0.00       Total Non-Compensable Receipts:                                     $0.00
Total Comp/Non Comp Receipts:                             $13,000.00       Total Comp/Non Comp Receipts:                                  $17,000.00
Total Internal/Transfer Receipts:                              $0.00       Total Internal/Transfer Receipts:                                   $0.00


Total Compensable Disbursements:                           $4,045.93       Total Compensable Disbursements:                                    $4,045.93
Total Non-Compensable Disbursements:                           $0.00       Total Non-Compensable Disbursements                                     $0.00
Total Comp/Non Comp Disbursements:                         $4,045.93       Total Comp/Non Comp Disbursements                                   $4,045.93
Total Internal/Transfer Disbursements:                         $0.00       Total Internal/Transfer Disbursements:                                 $0.00




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Co-Debtor Taxpayer ID #:                                                                                Account Title:
For Period Beginning:          01/01/2020                                                               Blanket bond (per case limit):      $2,000,000.00
For Period Ending:             12/31/2020                                                               Separate bond (if applicable):


     1                2                  3                                 4                                               5                6                  7

Transaction        Check /             Paid to/         Description of Transaction                  Uniform              Deposit       Disbursement         Balance
   Date             Ref. #          Received From                                                  Tran Code               $                $



                                                                                                                             NET               NET              ACCOUNT
                                                     TOTAL - ALL ACCOUNTS                                                DEPOSITS         DISBURSE             BALANCES

                                                                                                                      $17,000.00          $4,045.93                $12,954.07




For the period of 01/01/2020 to 12/31/2020                          For the entire history of the account between 10/28/2019 to 12/31/2020

Total Compensable Receipts:                         $13,000.00      Total Compensable Receipts:                                    $17,000.00
Total Non-Compensable Receipts:                          $0.00      Total Non-Compensable Receipts:                                     $0.00
Total Comp/Non Comp Receipts:                       $13,000.00      Total Comp/Non Comp Receipts:                                  $17,000.00
Total Internal/Transfer Receipts:                        $0.00      Total Internal/Transfer Receipts:                                   $0.00


Total Compensable Disbursements:                     $4,045.93      Total Compensable Disbursements:                                $4,045.93
Total Non-Compensable Disbursements:                     $0.00      Total Non-Compensable Disbursements:                                $0.00
Total Comp/Non Comp Disbursements:                   $4,045.93      Total Comp/Non Comp Disbursements:                              $4,045.93
Total Internal/Transfer Disbursements:                   $0.00      Total Internal/Transfer Disbursements:                              $0.00




                                                                                               /s/ KAREN E. EVANGELISTA
                                                                                               KAREN E. EVANGELISTA




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